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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
JOHN WILSON,

                                   Plaintiff,
                 -against-                                                 20 CIVIL 10324 (LAK)

                                                                              JUDGMENT
FEDERAL BUREAU OF INVESTIGATION,

                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Order dated November 28, 2022, the Court has considered plaintiff's

objections with care. Regardless of whether the R&R is reviewed de nova or for the presence of

clear error or inconsistency with the law - and the Court has done both-plaintiff's objections are

without merit. The Pietrangelo factors were properly analyzed by the Magistrate Judge, who

reached the only reasonable conclusion given the record in this case. Plaintiff's motion is denied

in all respects; accordingly, the case is closed.

Dated: New York, New York

          November 28, 2022


                                                                          RUBY J. KRAJICK

                                                                      _________________________
                                                                            Clerk of Court

                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
